     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 1 of 53




            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

COALITION FOR GOOD
GOVERNANCE, et al.

      Plaintiffs,                         Civil Action No.:
                                          1:21-CV-02070-JPB
v.

BRIAN KEMP, in his official capacity
as Governor of the State of Georgia, et
al.,

      Defendants.




                BRIEF IN SUPPORT OF DEFENDANTS’
                MOTION FOR SUMMARY JUDGMENT
         Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 2 of 53




                                         TABLE OF CONTENTS

TABLE OF CONTENTS ...................................................................................... ii
INTRODUCTION ................................................................................................ 1
PROCEDURAL BACKGROUND........................................................................ 2
FACTUAL BACKGROUND ................................................................................ 5
  I.      O.C.G.A. § 21-2-33.2: The Suspension Rule. ............................................ 5
  II.       O.C.G.A. § 21-2-568.1: The Observation Rule........................................ 8
  III. O.C.G.A. §§ 21-2-386(a)(2)(B)(vii), -386-(a)(2)(A), and-386(a)(2) (B)(vi):
  The Tally and Communication Rules. ............................................................. 9
  IV.       O.C.G.A. § 21-2-568.2: The Photography Rules. .................................. 12
ARGUMENT AND CITATION TO AUTHORITY ........................................... 13
  I.      Plaintiffs lack Article III standing. ......................................................... 14
       A.     The Board Member plaintiffs only have theoretical injuries. .......... 15
       B. Plaintiffs lack standing because any harm to them or their members
       is speculative. .............................................................................................. 16
       C. Plaintiffs cannot show traceability or redressability on any of their
       remaining claims. ........................................................................................ 18
  II. Defendants are entitled to summary judgment on each count of
  Plaintiffs’ Second Amended Complaint. ........................................................ 22
       A. Defendants are entitled to summary judgment on all claims
       regarding the Suspension Rule (Counts I, II, and III). ............................. 22
          1. The Suspension Rule complies with procedural due process
          (Count I). .................................................................................................. 22
          2. The Suspension Rule complies with substantive due process
          (Count II). ................................................................................................. 27
          3. The Suspension Rule does not burden the right to vote
          (Count III). ............................................................................................... 30
       B. Defendants are entitled to summary judgment on all claims
       regarding the Observation Rules (Counts IV, V, and VI). ........................ 31
          1. The Observation Rule does not impose an undue burden on the
          right to vote (Count IV). .......................................................................... 31



                                                            ii
        Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 3 of 53




        2.     The Observation Rule is not vague (Count V). .............................. 34
        3.     The Observation Rule does not intimidate voters (Count VI). ..... 35
     C. Defendants are entitled to summary judgment on all claims
     regarding the Communications and Tally Rules (Counts VII, VIII,
     and XI). ........................................................................................................ 38
        1. The Communications Rule does not violate the First Amendment
        (Count VII). .............................................................................................. 38
        2.     The Tally Rules are not vague (Count VIII). ................................. 39
        3.     The Tally Rules do not violate the First Amendment (Count XI). 41
     D. Defendants are entitled to summary judgment on all claims
     regarding the Photography Rules (Counts IX and X). .............................. 42
        1. The Photography Rules do not violate the First Amendment
        (Count IX). ................................................................................................ 42
        2.     The Photography Rules are not vague (Count X). ......................... 46
CONCLUSION ................................................................................................... 47




                                                          iii
      Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 4 of 53




                             INTRODUCTION

      Plaintiffs in this case challenge various common-sense election

administration rules, including SB 202’s accountability structure for county

officials established through the bipartisan State Election Board. But despite

their policy disagreements with Defendants, Plaintiffs cannot present

admissible evidence to support the sweeping allegations in their latest

Complaint, and Defendants are entitled to judgment as a matter of law on all

claims.

      First, Plaintiffs’ claims about the temporary suspension of county

election officials who engage in long-term mismanagement of elections fail

because Plaintiffs cannot show any (1) imminent injury; (2) lack of due process

for the temporary suspension; or (3) impact on the right to vote, each of which

is required for Plaintiffs to prevail. Only Fulton County has even had a

performance review conducted under the provisions of SB 202, and that panel

recommended that those county officials not be suspended following a

comprehensive process that achieved its goal of providing incentives for the

county to improve election administration.

      Second, Plaintiffs’ claims about observing voters while they are voting

fail because Plaintiffs cannot demonstrate any impact on the right to vote or

that the provisions are vague. Indeed, this Court has already concluded that

                                      1
      Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 5 of 53




accidental viewing of another’s ballot is not actionable, and Plaintiffs have

done nothing to develop the evidentiary record otherwise.

      Third, Plaintiffs cannot succeed on their challenges to the provisions of

SB 202 that ensure early scanning totals are not disclosed before the polls

close. This Court has already denied Plaintiffs’ attempts to enjoin these

provisions, and there is no basis to change that outcome.

      Finally, Plaintiffs cannot show that the rules regarding photographing

ballots have any impact on them, nor can they show that those rules violate

any provision of the U.S. Constitution.

      Plaintiffs made grand promises in their latest Complaint and in their

briefing opposing the motion to dismiss earlier in this case. But now they must

come forward with admissible evidence supporting their claims. They have not

and cannot, and this Court should enter judgment in favor of Defendants on

all counts.

                      PROCEDURAL BACKGROUND

      Although this case was filed in May 2021, Plaintiffs have taken

remarkably few steps to develop any factual support for their claims. Indeed,

shortly after filing their initial complaint, Plaintiffs amended their complaint

and sought emergency relief for a subset of their claims. [Docs. 1, 14, 15]. After




                                        2
      Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 6 of 53




this Court denied nearly all the emergency relief Plaintiffs sought,1 [Doc. 49],

it later denied Defendants’ motion to dismiss, finding that, while Plaintiffs

alleged enough to get to the discovery phase of the case, they would be required

to develop a record to support their claims. [Docs. 50, 78]. Despite this

opportunity, Plaintiffs have failed to do so even though this Court gave them

multiple extensions of discovery.

      This Court originally issued a scheduling order setting the expert report

deadline for May 16, 2022, and the end of discovery for July 1, 2022. [Doc. 67].

Shortly after that Order, Plaintiffs sought to amend their Complaint again,

and the case essentially ground to a halt. [Doc. 69]. Plaintiffs never put forward

any expert testimony in support of their claims and did not conduct any

depositions. The parties agreed to extend discovery once, with a new end date

for discovery of October 3, 2022. [Docs. 83, 84]. When Plaintiffs later sought to

extend discovery over the objection of Defendants, this Court noted the lack of

depositions or experts from Plaintiffs and granted a limited, 45-day extension.

[Doc. 89, p. 2].

      After Defendants served notices of deposition on Plaintiffs following

unsuccessful attempts to schedule those depositions [Doc. 91], Plaintiffs next


1This Court granted a limited injunction that allowed photographing ballots
outside of the polling place. [Doc. 49, pp. 39].

                                        3
      Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 7 of 53




sought to dismiss most of their claims, which Defendants opposed. [Docs. 92,

94]. Plaintiffs then sought to extend discovery until 30 days after this Court

ruled on their motion to stay. [Doc. 96]. This Court denied the motion for a

stay, granted the motion for extension of discovery through May 8, 2023, and

later extended the end of discovery to June 16, 2023. [Docket Order, May 8,

2023].

      During the additional discovery extensions, Plaintiffs amended their

Complaint for the second time to drop several claims. Thus, under the Second

Amended Complaint [Doc. 104], Plaintiffs challenge four “buckets” of changes

made by SB 202. First, they challenge provisions related to suspension of

county election officials who violate state law over multiple election cycles (the

“Suspension Rule”2 in Counts I, II, and III). Second, they challenge provisions

related to observing voters while they vote (the “Observation Rule” in Counts

IV, V, and VI). Third, they claim that provisions designed to avoid the

premature disclosure of election results are unconstitutional (the “Tally Rules”

and the “Communication Rule” in Counts VII, VIII, and XI). Fourth, they

challenge prohibitions on photography of ballots (the “Photography Rules” in



2 For ease of reference, Defendants utilize this Court’s names for each
challenged provision as referenced in the Order on the motion to dismiss. [Doc.
78, pp. 2–3].

                                        4
      Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 8 of 53




Count IX and X). In their Second Amended Complaint, Plaintiffs abandoned

their challenges to the Ballot Application Rule and the Voter ID Rule that this

Court reviewed in ruling on Defendants’ motion to dismiss [Doc. 78, pp. 28–32,

40–43].

      Now that discovery is concluded, Plaintiffs are no longer entitled to the

presumptions they received at the motion-to-dismiss phase. As discussed

below, there is a complete lack of evidence supporting their remaining claims

at this stage of the case, warranting judgment as a matter of law in favor of

Defendants.

                        FACTUAL BACKGROUND

I.    O.C.G.A. § 21-2-33.2: The Suspension Rule.

      SB 202 provided the State Election Board (SEB) the ability, after notice

and a hearing, to temporarily suspend election superintendents after they

committed multiple violations of the law over multiple election cycles. O.C.G.A.

§ 21-2-33.2; Statement of Material Facts (“SMF”) ¶ 1. The General Assembly

explained why it took this step: “Ensuring there is a mechanism to address

local election problems will promote voter confidence and meet the goal of

uniformity” because of the lack of accountability under existing law. Senate

Bill 202 As Passed, attached as Ex. D (“SB 202”), at 5:96–101.




                                       5
      Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 9 of 53




      Since the adoption of SB 202 in 2021, none of the counties where the

Board Member Plaintiffs3 serve (currently or previously) were subjected to an

investigation or performance review. SMF ¶ 2; Declaration of Ryan Germany

(“Germany Dec.”), attached as Ex. A, ¶¶ 4–6. The only county election officials

who have undergone a performance review are the members of the Fulton

County Board of Elections and Registration and staff. SMF ¶ 3; Germany Dec.,

¶¶ 4–6; Fulton Performance Review Board Report (“Fulton Report”), attached

as Ex. 1 to Germany Dec.; Excerpts of Response to Interrogatories, attached as

Ex. B, Nos. 1–2.

      The Fulton County Performance Review was initiated by members of the

General Assembly in the local legislative delegation. SMF ¶ 4; Fulton Report,

p. 5. The three-member Review Board personally observed “pre-election,

Election Day, and post-election processes at Fulton County in both the 2021

municipal elections and the 2022 general and runoff elections.” SMF ¶ 5;

Fulton Report at 6. Those observations included at least four visits to the

Fulton County Election Processing Center and at least 16 visits to different



3The Second Amended Complaint identifies the “Board Member Plaintiffs” as
Plaintiffs Shirley, Lang, Pullar, Thomas-Clark, and McNichols, serving on the
boards of elections and/or registration for Athens-Clarke, Coffee, Chatham,
Clayton, and Jackson Counties at the time the lawsuit was filed. [Doc 104, ¶¶
146–197].

                                      6
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 10 of 53




election day polling place and advance-voting locations. SMF ¶ 6; Fulton

Report at 6. The Review Board also worked with the Carter Center to observe

Fulton County elections in November 2022 to assist with its review. SMF ¶ 7;

Fulton Report at 6. Finally, the Review Board conducted formal interviews

with staff and members of the Fulton County Board of Elections, reviewed

procedures, and coordinated with the Secretary’s office for its review. SMF ¶

8; Fulton Report at 7.

      When it issued its report, the Review Board confirmed that, in prior

years, “disorganization and a lack of a sense of urgency in resolving issues

plagued Fulton County elections.” SMF ¶ 9; Fulton Report at 1. But the Review

Board also recognized the improvement in election administration in Fulton

County from 2020 through 2022, at least in part because of the incentives

created by the Performance Review itself. SMF ¶ 10; Fulton Report at 18. As

a result, the Review Board did not recommend any Fulton officials be

suspended under the Suspension Rule. SMF ¶ 11; Fulton Report at 18–19.

      The SEB did not suspend the Fulton officials, has not announced any

plans for conducting additional performance reviews, and is not considering

suspension of additional county election officials, including the Board Member

Plaintiffs here. SMF ¶¶ 12–14; Germany Dec., ¶¶ 7–8. Thus, the SEB has not




                                      7
      Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 11 of 53




suspended any county officials, nor has it announced any plans to do so or to

investigate any other county at this point.

II.   O.C.G.A. § 21-2-568.1: The Observation Rule.

      Prior to SB 202, it was already a felony to induce an elector “to show how

he or she marks or has marked his or her ballot” or to disclose “to anyone how

another elector voted, without said elector’s consent.” O.C.G.A. § 21-2-568(a)(3)

and (4). The “enclosed space” of a precinct was also heavily regulated. 4

Additional provisions placed limitations on who can be in the enclosed space

while voters are voting and limited activities in that space. O.C.G.A. §§ 21-2-

413, 414. Those restrictions include prohibitions on (1) the general public

entering unless they are voting or providing assistance, (2) anyone but law

enforcement carrying firearms, and (3) campaigning. Id. Only a limited

number of authorized poll watchers are allowed inside. Id.

      Consistent with those existing limitations on activities in the enclosed

space and to ensure a secret ballot, SB 202 added a provision making it a felony

to engage in the intentional observation of an elector casting a ballot “in a

manner that would allow such person to see for whom or what the elector is


4“It is, at least on Election Day, government-controlled property set aside for
the sole purpose of voting. The space is ‘a special enclave, subject to greater
restriction.’” Minn. Voters All. v. Mansky, 138 S. Ct. 1876, 1886 (2018) (quoting
Int’l Soc’y for Krishna Consciousness v. Lee, 505 U.S. 672, 680 (1992)).

                                       8
       Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 12 of 53




voting.” SMF ¶ 15; SB 202 at 95:2448–2454 (emphasis added). As this Court

recognized, the intent requirement “excludes inadvertent viewing and applies

only if a person intentionally attempts to see for whom an elector is voting.”

[Doc. 49, pp. 28–29] (emphasis in original). Further, existing rules require

county superintendents to arrange each polling place “in such a manner as to

provide for the privacy of the elector while voting.” Ga. Comp. R. & Regs. r.

183-1-12-.11(4). The Secretary of State provided guidance to counties on proper

precinct layout, and county election officials are ultimately responsible for the

setup of voting machines in ways that comply with Georgia law. SMF ¶ 16;

Declaration of Blake Evans, attached as Ex. C (“Evans Dec.”), ¶ 3 and Ex. 1.

Plaintiffs cannot point to any evidence of arbitrary enforcement of the rule or

its improper use to target political opponents.

       The State has an interest in protecting the secrecy of the ballot process

and upholding the integrity of elections, which the Observation Rule protects.

[Doc. 49, p. 29]; Ga. Const. Art. II, § I, ¶ I; see also Common Cause/Ga. v.

Billups, 554 F.3d 1340, 1353 (11th Cir. 2009).

III.   O.C.G.A. §§ 21-2-386(a)(2)(B)(vii), -386-(a)(2)(A), and-386(a)(2)
       (B)(vi): The Tally and Communication Rules.

       Following the 2020 election, some counties were repeatedly asked how

many votes they had left to tabulate that they could not answer in a timely



                                       9
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 13 of 53




fashion. SMF ¶ 17; Germany Dec., ¶ 9. Because posting election results quickly

is one of the best things that election officials can do to generate confidence in

the outcome of an election, the legislature decided that “[c]reating processes

for early processing and scanning of absentee ballots will promote elector

confidence by ensuring that results are reported quickly.” SMF ¶¶ 18; SB 202

at 6:123–125; Germany Dec., ¶ 9. Prior to SB 202, early scanning of absentee

ballots could only be performed by a sequestered group of individuals

beginning at 7:00 a.m. on Election Day itself, so there was no danger of those

individuals leaving to report vote totals or estimates during that single-day

process. SMF ¶ 19; O.G.C.A. § 21-2-386(a)(2) (2019); Germany Dec., ¶ 13. To

mitigate the risk that early vote counts would be disclosed during early

scanning in the weeks before an election, the legislature designed a process

that ensured that information about the scanning process would not be

publicized prior to the final close of the polls. SMF ¶ 20; Germany Dec., ¶¶ 11,

12, 14. Accordingly, SB 202 permits only election officials to handle absentee

ballots, requires individuals involved to swear an oath, and places several

requirements on observers to avoid disclosure of vote counts. SMF ¶ 21; SB 202

at 39:965–40:981; 66:1687–1690; 67:1698–1712; Germany Dec., ¶ 15. Plaintiffs

seek to enjoin two of these requirements, namely, preventing observers and

monitors from attempting to tally or estimate vote totals (the Tally Rules) and

                                       10
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 14 of 53




communicating information about a vote they might see to anyone other than

an election official (the Communication Rule) before polls are closed.5 SB 202

at 67:1698–1712.

      The Communication Rule only applies to “any ballot, vote or selection”

during the viewing or monitoring of the absentee-ballot scanning process. SMF

¶ 23; Germany Dec., ¶ 16. This process occurs in a room that also has other

specific requirements about the use of recording devices and other equipment.

SMF ¶ 24; Germany Dec., ¶ 17. Maintaining the secrecy of that process is

critical to preserving the integrity of the election process by ensuring vote

totals are not disclosed while other voters are still voting or have yet to vote.

SMF ¶ 25; Germany Dec., ¶ 18. Likewise, the Tally Rules protect the integrity

of the election process by ensuring that county votes or estimates about vote

totals do not take place prior to the conclusion of the voting process. SMF ¶ 26;

Germany Dec., ¶ 19. If officials were enjoined from enforcing these two

provisions, individuals would be free to share information about the early-

scanning process with the general public and with candidates, which would


5 These provisions closely track the emergency SEB rules that were used
throughout 2020 for early scanning of ballots. SMF ¶ 22; Germany Dec., ¶ 10.
Other states that allow scanning before Election Day also prohibit and/or
criminalize disclosure of tallies before the polls are closed. See, e.g., Ariz. Rev.
Stat. Ann. § 16-551 (felony in Arizona to release tallies early); N.M. Stat. Ann.
§ 1-6-14(H); Del. Code Ann. tit. 15, § 5510; Colo. Rev. Stat. § 1-7.5-107.5.

                                        11
      Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 15 of 53




undermine the integrity of the election process. SMF ¶¶ 27–28; Germany Dec.,

¶¶ 20–22.

IV.   O.C.G.A. § 21-2-568.2: The Photography Rules.

      Prior to SB 202, it was already a violation of the Election Code to take

pictures inside a polling place and specifically to photograph the face of a voting

machine with the ballot displayed. O.C.G.A. § 21-2-413(e). But there was no

specific penalty, meaning the only possible penalty was the catch-all

misdemeanor for violations of the Election Code. O.C.G.A. § 21-2-598.

      In SB 202, the General Assembly provided a specific misdemeanor

penalty for conduct that was already a misdemeanor and further clarified that

photographing or recording a voted ballot outside of a polling place (such as an

absentee ballot) was also a misdemeanor. 6 SB 202 at 96:2455–2462. This

provision can prevent vote-buying schemes that require a voter to show proof

of their vote to the person paying them and also prevent others from pressuring

voters to show for whom they voted. SMF ¶ 29; Germany Dec., ¶ 23. This

provision protects individuals from being subjected to outside pressure as a

result of the votes they cast and ensures ballot secrecy. SMF ¶ 30; Germany


6Several other states also prohibit taking photographs of ballots. See, e.g., Ala.
Code § 17-9-50.1; 25 Pa. Stat. Ann. § 3530 (prohibiting allowing anyone to see
ballot or machine “with the apparent intention of letting it be known how he is
about to vote”).

                                        12
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 16 of 53




Dec, ¶¶ 24–26; Ga. Const. Art. II, § I, ¶ I (guarantee of secret ballot). Further,

this provision ensures that photographic images of a voter’s ballot are not

stored in ways that can connect the ballot to the voter, preserving the voter’s

privacy, ballot secrecy, and the integrity of the election. SMF ¶ 31; Germany

Dec., ¶ 27.

              ARGUMENT AND CITATION TO AUTHORITY

      Summary judgment is appropriate when there is no genuine issue of

material fact and the moving party is entitled to judgment as a matter of law.

Fed. R. Civ. P. 56(a). The moving party bears the initial burden but need not

disprove the opposing party’s claims. Instead, the moving party may point to

the absence of evidence to support the non-moving party’s case. Celotex Corp.

v. Catrett, 477 U.S. 317, 325 (1986); Marion v. DeKalb County, 821 F. Supp.

685, 687 (N.D. Ga. 1993). In defending its claims, the non-moving party must

do “more than simply show that there is some metaphysical doubt as to the

material facts.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.

574, 586 (1986). The non-moving party “must come forward with significant,

probative evidence demonstrating the existence of a triable issue of fact.”

Irby v. Bittick, 44 F.3d 949, 953 (11th Cir. 1995) (emphasis added) (quoting

Chanel, Inc. v. Italian Activewear, Inc., 931 F.2d 1472, 1477 (11th Cir. 1991)).

As discussed below, Plaintiffs have not produced any evidence and cannot show

                                       13
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 17 of 53




that there is any dispute over a material fact on any of Plaintiffs’ remaining

claims, and Defendants are entitled to judgment as a matter of law.

I.    Plaintiffs lack Article III standing.

      The first basis for judgment in Defendants’ favor is Plaintiffs’ lack of

standing. Federal courts may decide only active “cases” and “controversies.”

U.S. Const. art. III, § 2, cl. 1. To establish standing to present a case or

controversy, a litigant must prove: “(1) an injury in fact that (2) is fairly

traceable to the challenged action of the defendant and (3) is likely to be

redressed by a favorable decision.” Jacobson v. Fla. Sec’y of State, 974 F.3d

1236, 1245 (11th Cir. 2020) (citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-

61 (1992)); U.S. v. Amodeo, 916 F.3d 967, 971 (11th Cir. 2019). “[E]ach element

must be supported . . . with the manner and degree of evidence required at the

successive stages of the litigation.’” Jacobson, 974 F.3d at 1245 (quoting Lujan,

504 U.S. at 561). While standing is provisionally determined at the time a

lawsuit is filed, it is continuously reevaluated and “must persist throughout a

lawsuit.” Ga. Ass’n of Latino Elected Officials, Inc. v. Gwinnett Cty. Bd. of

Registration & Elections, 36 F.4th 1100, 1113 (11th Cir. 2022) (“GALEO”).

Further, “[i]f a case ‘no longer presents a live controversy with respect to which

the court can give meaningful relief,’ the case is moot and must be dismissed.”




                                       14
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 18 of 53




Id. (quoting Friends of Everglades v. S. Fla. Water Mgmt. Dist., 570 F.3d 1210,

1216 (11th Cir. 2009)).

      For purposes of both the Defendants’ Motion to Dismiss [Doc. 41] and

Plaintiffs’ Motion for Preliminary Injunction [Doc. 15], this Court found that

at least one Plaintiff had standing to bring each count asserted in the Amended

Complaint [Doc. 49, pp. 4–14; Doc. 78, pp. 5–15]. As Defendants argued at the

time, Plaintiffs do not have an injury based on their subjective fear of

prosecution or of arbitrary enforcement of various provisions of SB 202 because

those potential injuries are too attenuated and speculative, and rely too heavily

on the independent actions of third parties, to constitute a concrete and

cognizable injury for purposes of Article III standing. This is all the more clear

now that discovery is complete. Further, Plaintiffs cannot demonstrate any

traceability to or redressability by Defendants regarding their remaining

claims.

      A.    The Board Member plaintiffs only have theoretical
            injuries.

      Since this case was filed, at least one Board Member Plaintiff is no longer

serving on an election board. SMF ¶ 32; Deposition of Patricia Pullar [Doc. 122]

(“Pullar Dep.”), 24:18–25:1. And of the remaining Board Member Plaintiffs,

there is no evidence of any pending action against any county boards, including



                                       15
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 19 of 53




the counties where Board Member Plaintiffs serve. SMF ¶ 33; Germany Dec.,

¶¶ 7–8. Further, the Board Member Plaintiffs can only be injured if (1) they

engage in violations of the Election Code, (2) over multiple election cycles, that

lead (3) to a motion or performance review, that (4) finds support for those

violations. O.C.G.A. § 21-2-33.2. As a result, any injury is only speculative and

cannot constitute the basis for any relief. Clapper v. Amnesty Int’l USA, 568

U.S. 398, 410 (2013); Tsao v. Captiva MVP Rest. Partners, LLC, 986 F.3d 1332,

1344 (11th Cir. 2021).

      B.    Plaintiffs lack standing because any harm to them or their
            members is speculative.

      The lack of any impending injury requires summary judgment on

standing. As the Eleventh Circuit recently explained, imposing harm on

members or the organization itself as a result of something that is not

“certainly impending” means there is no injury for purposes of standing. City

of S. Miami v. Governor of Fla., 65 F.4th 631, 638, 640 (11th Cir. 2023). So too

here: Because Plaintiffs cannot present any evidence that any county official

is currently subject to potential suspension under the Suspension Rules, SMF

¶ 34; Germany Dec., ¶¶ 7–8; Fulton Report; the harm is not certainly

impending, and these claims must be dismissed.




                                       16
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 20 of 53




      Further, while Plaintiffs claim that they have changed their behavior

because of the Observation, Tally, and Communication Rules, the individual

Plaintiffs have not shown any enforcement or investigation against them

personally for any alleged violations. They thus rely solely on subjective fears

of prosecution (or claimed difficulty complying with those laws), as well as

concerns about merely being accused of violating such laws. While they may

sincerely feel those concerns, there is a long chain of events encompassing the

actions of third parties not before the Court that must occur before Plaintiffs’

fears could even get close to becoming reality. This “attenuated chain of

possibilities,” Clapper, 568 U.S. at 410, means Plaintiffs could only be injured

if all of the following events occur: (1) they change their mind regarding going

to polling places and other areas where the challenged provisions are in effect;

(2) they commit some violation of the challenged provisions (which none has

expressed an intent to do); (3) a third party (a) observes and (b) reports such

violation; and, finally (4) that third party refers that violation to the SEB, the

Secretary, or some criminal enforcement arm (such as a district attorney or the

Attorney General). And that criminal enforcement arm will then have to

engage in a series of actions and deliberations to independently decide to

prosecute Plaintiffs and then actually commence such prosecution. Only then

would Plaintiffs suffer any injury whatsoever.

                                       17
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 21 of 53




      This hypothetical chain of events demonstrates the abstract and

conjectural nature of Plaintiffs’ purported injury. And courts are and should be

“reluctant to endorse standing theories that require guesswork as to how

independent decisionmakers will exercise their judgment.” Clapper, 568 U.S.

at 414. Thus, like the plaintiffs who took action based on fear of racial profiling

in Florida, Plaintiffs cannot show any injury is certainly impending from the

provisions of SB 202 that they challenge. City of S. Miami, 65 F.4th at 638-40.

      C.    Plaintiffs cannot show traceability or redressability on any
            of their remaining claims.

      Even if Plaintiffs have an injury, they still cannot show that their injury

is traceable to or redressable by Defendants. Plaintiffs’ claims encompass

criminal penalties, which are only enforceable by district attorneys or other

prosecutorial officials, O.C.G.A. §§ 21-2-598, -599, -600, 15-18-6, 17-7-71, and

Plaintiffs have not named any prosecutorial officials in this lawsuit. Thus,

regardless of any relief entered against Defendants, Plaintiffs’ alleged injury

would not be fully addressed because they still would have potential criminal

charges brought by officials Plaintiffs did not sue.

      This Court previously found that traceability and redressability were

met in an analysis that correctly recognized the foundational standard that “to

satisfy the causation requirement of standing, a plaintiff’s injury must be



                                        18
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 22 of 53




‘fairly traceable to the challenged action of the defendant, and not the result of

the independent action of some third party not before the court.’” [Doc. 49, p.

11] (quoting Jacobson, 974 F.3d at 1253). The Court also highlighted the

important limiting principle that “it must be the effect of the court’s judgment

on the defendant—not an absent third party—that redresses the plaintiff’s

injury, whether directly or indirectly.” Id. (quoting Lewis v. Governor of Ala.,

944 F.3d 1287, 1301 (11th Cir. 2019)). But the Court then relied on two

Eleventh Circuit cases that predate Jacobson and Lewis to find traceability

and redressability, but in doing so failed to recognize several key limiting

principles on the authority of federal courts that undermine that finding.

      The Court first relied on a 1988 case from the Eleventh Circuit for the

proposition that all that is needed to find traceability and redressability is that

“the state officer sued must, by virtue of his office, have some connection with

the unconstitutional act or conduct… Whether this connection arises out of

general law, or is specially created by the act itself, is not material so long as

it exists.” [Doc. 49, p. 12] (quoting Luckey v. Harris, 860 F.2d 1012, 1015–16

(11th Cir. 1988)). This conclusion is contradicted by the holdings of Jacobson

and Lewis. Thus, this Court incorrectly concluded that all that really matters

for purposes of traceability and redressability is if a party, like the Governor,

“is generally responsible for enforcing the state’s laws.” Id. But this is

                                        19
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 23 of 53




inconsistent with the Jacobson method of evaluating traceability and

redressability. And the second pre-Jacobson case relied upon by this Court was

entirely dependent on Luckey for its analysis, which provides no helpful

guidance as to how this circuit views traceability and redressability today. See

[Doc. 49, p. 13] (citing Ga. Latino Alliance for Human Rights v. Governor of

Ga., 691 F.3d 1250 (11th Cir. 2012)).

      Indeed, the law in the Eleventh Circuit no longer allows the conclusion

that “prospective relief could be ordered against the… governor of Georgia, who

is generally responsible for enforcing the state’s laws.” [Doc. 49, p. 12]

(emphasis added). The key questions for traceability and redressability “are

who caused the injury and how it can be remedied.” City of S. Miami, 65 F.4th

at 640. As Jacobson explains, “general supervision and administration of the

election laws[] does not make the [challenged election law] traceable to [the

Secretary of State].” 974 F.3d at 1254; see also Lewis, 944 F.3d at 1300 (where

the court rejected the plaintiffs’ reliance upon “a host of provisions of the

Alabama Code that generally describe the Attorney General’s [enforcement]

authority” to establish traceability).

      In the same way, redressability cannot be established for all challenged

provisions except for the Suspension Rule because enjoining Defendants will




                                         20
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 24 of 53




not redress any alleged injury because the provisions will not be enjoined. The

Eleventh Circuit made clear that a district court’s jurisdiction is limited:

      The district court’s decision rests on the flawed notion that by
      declaring the ballot statute unconstitutional, it eliminated the
      legal effect of the statute in all contexts. But “federal courts have
      no authority to erase a duly enacted law from the statute books.”
      Jonathan F. Mitchell, The Writ-of-Erasure Fallacy, 104 Va. L. Rev.
      933, 936 (2018); see also Steffel v. Thompson, 415 U.S. 452, 469, 94
      S. Ct. 1209, 39 L. Ed. 2d 505 (1974) (“Of course, a favorable
      declaratory judgment . . . cannot make even an unconstitutional
      statute disappear.” (internal quotation marks omitted)). Our
      power is more limited: we may “enjoin executive officials from
      taking steps to enforce a statute.” Mitchell, supra, at 936.

Jacobson, 974 F.3d at 1255.

      Accordingly, the Governor’s general authority here to enforce all state

laws does not automatically establish traceability as to each challenged

provision. See City of S. Miami, 65 F.4th at 614 (“Neither the governor nor the

attorney general acts under [the statute] in such a way that the organizations’

injury is traceable to them or redressable by enjoining them.”). Similarly, the

general authority of the Secretary of State and State Election Board related to

elections does not satisfy the redressability or traceability requirements for the

challenged provisions outside of the Suspension Rule.

      Moreover, as discussed above, the Court exercising its authority to enjoin

enforcement of certain provisions does not enjoin the provisions themselves.

Jacobson, 974 F.3d at 1255. So, if another party—such as a district attorney or

                                       21
      Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 25 of 53




other prosecutor (the only officials authorized to bring criminal charges under

the challenged provisions)—can continue to enforce the challenged provisions

even were this Court to enjoin the parties to this action, Plaintiffs have not

established redressability under Article III. Id.

II.   Defendants are entitled to summary judgment on each count of
      Plaintiffs’ Second Amended Complaint.

      Even if Plaintiffs have standing, Defendants are still entitled to

summary judgment on the merits of each of Plaintiffs’ current claims.

      A.    Defendants are entitled to summary judgment on all claims
            regarding the Suspension Rule (Counts I, II, and III).

            1.    The Suspension Rule complies with procedural due
                  process (Count I).

      As this Court explained, the Board Member Plaintiffs claim “that the

Suspension Rule violates their right to procedural due process” because they

are at risk of being “improperly deprived of their protected property interest in

their respective county board seats [without] a pre-deprivation notice and

hearing and a ‘meaningful’ post-deprivation remedy.” [Doc. 78, p. 17] (quoting

Am. Compl. ¶¶ 368–69), accord [Doc. 104, ¶¶ 352–353]. In its Order denying

Defendants’ motion to dismiss, the Court noted that “[c]onstitutionally

adequate process is ‘a guarantee of fair procedure,” id., at 19, and inquiring

into whether a state law provides sufficient due process requires a ‘flexible



                                       22
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 26 of 53




concept that varies with the particular situation.’ Id. at 20. This flexible

concept is detailed in Mathews v. Eldridge, and entails weighing several

factors. 424 U.S. 319, 335 (1976).

      According to Mathews, the Court must weigh the private interest

affected; the risk of an “erroneous deprivation” of such interest; the relative

value in any additional or substitute safeguards; and the Government’s

interest, “including the function involved and the fiscal and administrative

burdens that the additional or substitute procedural requirement would

entail.” Id. In its Order denying Defendants’ motion to dismiss, this Court held

that Plaintiffs’ claims on this count were not appropriate for dismissal “[s]ince

a proper analysis of the issues requires reference to facts not stated in the

Amended Complaint.” [Doc. 78, p. 21]. But now, with the benefit of ample time

for discovery, we have the necessary facts or—more accurately—the absence of

necessary facts, to permit this Court to dispose of this Count of Plaintiffs’

Complaint.

      Mathews involved a social security disability claimant’s purported right

to receive benefits and answered a somewhat different question from the one

at issue here. In Mathews, the claimant acknowledged that the review

procedures available to him were adequate “if disability benefits were not

terminated until after the evidentiary hearing stage of the administrative

                                       23
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 27 of 53




process.” 424 U.S. at 333. Here, Plaintiffs take issue with the process itself, not

just the timing of the decision, while acknowledging they would only be

deprived of their purported property right after a notice and hearing takes

place. [Doc. 104, ¶ 84]. Thus, they are already in a better position than the

plaintiff in Mathews. Turning next to the three due-process factors identified

in Mathews, it is clear that there is no evidence that Plaintiffs have been

deprived of their due-process rights.

      Initially, Plaintiffs do not have a property interest in their seats on the

respective election boards. When this Court previously denied Intervenor-

Defendants’ motion to dismiss Board Member Plaintiffs’ due process claims, it

held that “the Board Member Plaintiffs plausibly allege that they have a

protected interest in their board seats and that the Suspension Rule threatens

to take away that interest without an adequate opportunity to be heard.” [Doc.

78, p. 20]. It further found that “[a] property interest does not fall outside due

process protection simply because it can be extinguished by statute.” Id. at 20–

21. In support, the Court drew on the 1985 case of Cleveland Bd. of Educ. v.

Loudermill, 470 U.S. 532, 541 (1985). But Loudermill is not useful on this

question because it involved consideration of whether a school board could

summarily dismiss an employee when a statute otherwise conferred on that

employee a right to employment. The statute provided that the particular

                                        24
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 28 of 53




employee at issue “can be terminated only for cause, and may obtain

administrative review if discharged.” Id. at 535 (quoting Ohio Rev. Code. Ann.

Sec. 124.34). Thus, it was established in Loudermill—unlike in this case—that

a property interest had been conferred by statute.

      In this case, there is no conferral—because no such conferral can occur

for an election board official. “[T]he Supreme Court has held that ‘unlawful

denial by state action of a right to state political office is not a denial of a right

of property or liberty secured by the due process clause.’” Gamza v. Aguirre,

619 F.2d 449, 452 n.3 (5th Cir. 19807) (quoting Snowden v. Hughes, 321 U.S.

1, 7 (1944)). Courts in other circuits have also agreed. See, e.g., Miller v. Centre

Cty., No. 4:15-CV-1754, 2016 U.S. Dist. LEXIS 62019, *44–45 (M.D. Pa. May

11, 2016) (collecting cases); see also LaPointe v. Winchester Bd. of Ed., 366 F.

App’x 256, 257 (2d Cir. 2010); Taylor v. Beckham, 178 U.S. 548, 576 (1900)

(“public offices are mere agencies or trusts, and not property as such”).

      Thus, Board Member Plaintiffs do not have a protected property interest

in their seats and this alone is sufficient to grant judgment as a matter of law

to Defendants on Count I.




7This Fifth Circuit case is binding precedent. Bonner v. City of Prichard, 661
F.2d 1206, 1207 (11th Cir. 1981) (en banc).

                                         25
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 29 of 53




      But even if there is a property interest, there is no risk of erroneous

deprivation. More than two years since passage of SB 202 and with the

completion of a statewide general election, none of the Board Member Plaintiffs

is able to point to a single instance in which they were targeted because of the

Suspension Rule. SMF ¶ 35; Deposition of Ernestine Thomas-Clark [Doc. 119],

39:11–40:8; Deposition of Adam Shirley [Doc. 118], 40:21–41:1; Deposition of

Judy McNichols [Doc. 121], 44:11–46:2; Pullar Dep., 28:11–29:4. Far from

confirming the Board Member Plaintiffs’ unfounded and speculative fears, the

passage of time has revealed quite a different result, with the SEB empaneling

just one performance review panel. SMF ¶ 36; Germany Dec., ¶ 7. That

investigation was robust and searching, involved state officials, county

officials, and the Carter Center, and ultimately did not result in the suspension

of any county official. SMF ¶ 37; Germany Dec., ¶ 6; Fulton Report. Further,

the panel concluded that the creation of the performance review that precedes

the Suspension Rule incentivized the county officials to improve the

administration of elections. SMF ¶ 38; Fulton Report, pp. 18–19. In its Order

denying Defendants’ motion to dismiss, this Court found that Defendants did

not point to “relevant circumstances where the rule would be constitutional.”

[Doc. 78, p. 24] (emphasis in original). But with two years of the Suspension




                                       26
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 30 of 53




Rule in practice, there is ample evidence that the provision provides

constitutionally adequate process.

      Moreover, the Suspension Rule closely mirrors that portion of O.C.G.A.

§ 20-2-73 that allows the takeover of elected members of school boards. Both

the school board rule and the Suspension Rule allow the notice and hearing

prior to any suspension. Id. Both require a showing of cause before the process

can be initiated. Id. Both provide for reinstatement. Id. And both provide for

judicial review. Id. In the school-board context, courts have upheld this nearly

identical process as constitutionally permissible. DeKalb Cty. Sch. Dist. v. Ga.

State Bd. of Educ., 294 Ga. 349, 369 (2013). There is no reason to hold any

differently for the Suspension Rule under Plaintiffs’ procedural due process

claim. The Suspension Rule does not violate any due-process rights of any

Plaintiff, and this Count should be dismissed.

            2.    The Suspension Rule complies with substantive due
                  process (Count II).

      While styled as a substantive due process claim, Count II of Plaintiffs’

Second Amended Complaint alleges that the provisions authorizing the SEB

to temporarily replace an underperforming election superintendent violate the

Georgia Constitution as an improper delegation of legislative functions. [Doc.

104, ¶¶ 360–364, 370–371]. But these claims are not cognizable in federal court



                                      27
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 31 of 53




because they do not allege “an ongoing violation of federal law and seek[] relief

properly characterized as prospective.” Verizon Md. Inc. v. PSC, 535 U.S. 635,

645 (2002) (cleaned up) (emphasis added).

      While Plaintiffs briefly mention the Fourteenth Amendment [Doc. 104,

¶ 359], almost all of Count II focuses on alleged state-law violations. And “it is

difficult to think of a greater intrusion on state sovereignty than when a federal

court instructs state officials on how to conform their conduct to state law.”

Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 106 (1984).

      This Court previously kept Count II alive because the Court believed

that Count II was within the Ex Parte Young, 209 U.S. 123 (1908), exception

to the Eleventh Amendment. [Doc. 78, pp. 26–28]. But now at summary

judgment, Plaintiffs’ mere allegations will not suffice—especially without any

evidence that the SEB has or will use the takeover provisions in the cavalier

manner suggested by Plaintiffs. Indeed, Plaintiffs have produced no evidence

suggesting “a deprivation of federally protected rights” or showing “the

fundamental fairness of the electoral process” being “seriously undermined” by

the Suspension Rule. [Doc. 78, p. 27] (citing Duncan v. Poythress, 657 F.2d 691,

700 (5th Cir. Unit B Sep. 1981)). If anything, the SEB, led by Judge William

Duffey, has protected the voting rights of Georgia’s citizens while protecting

the rights of the members of local boards of election in the exercise of their

                                       28
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 32 of 53




duties. SMF ¶ 39; Fulton Report, pp. 18–19. The performance review of Fulton

County was comprehensive, cooperative, and resulted in better election

administration in Georgia’s largest county—and Plaintiffs can point to no

evidence to the contrary. SMF ¶ 40; Fulton Report, pp. 18–19.

      Thus, without any evidence to support Plaintiffs’ allegations, this Count

must be dismissed. But if this Court does not grant summary judgment in favor

of Defendants on Count II, it should certify the questions of state law it

presents to the Georgia Supreme Court. As the United States Supreme Court

has noted, “[w]arnings against premature adjudication of constitutional

questions bear heightened attention when a federal court is asked to invalidate

a State’s law, for the federal tribunal risks friction-generating error when it

endeavors to construe a novel state Act not yet reviewed by the State’s highest

court.” Arizonans for Official English v. Arizona, 520 U.S. 43, 79 (1997); see

also Forgione v. Dennis Pirtle Agency, Inc., 93 F.3d 758, 761 (11th Cir. 1996).

But that is not necessary given the Georgia Supreme Court’s ruling in DeKalb

Cty. Sch. Dist., 294 Ga. at 369, finding a similar suspension process complied

with all relevant constitutional provisions. Thus, Defendants are entitled to

judgment as a matter of law on Count II.




                                      29
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 33 of 53




            3.    The Suspension Rule does not burden the right to vote
                  (Count III).

      Plaintiffs’ last attempt to invalidate the Suspension Rule is to attack it

as a violation of the right to vote. But even if Plaintiffs had standing to

challenge the provision in this Count—which they do not because they cannot

demonstrate any injury—nothing in the record indicates a county registrar will

be suspended by the SEB with SEB allowing the position to sit vacant, thus

depriving voters of the ability to vote or register to vote, as Plaintiffs claim.

[Doc. 104, ¶¶ 377–378]. Plaintiffs’ nightmare scenario of a county board of

registrars with no members is just that: a dream conjured up by attorneys that

would require the SEB to disregard its legal obligations to Georgia voters. The

fears expressed two years ago have not come to pass. Quite to the contrary, the

SEB has thus far suspended zero county officials, to say nothing of failing to

replace an official that was suspended after a thorough investigative

procedure, before even considering whether suspension was appropriate in the

one matter that potentially met the strict criteria of SB 202’s Suspension Rule.

SMF ¶ 41; Germany Dec., ¶¶ 6–8. Plaintiffs offer no evidence otherwise.

      At best, Plaintiffs continue to assert the tenuous notion that the SEB

may someday remove some yet-to-be-named registrar and fail to replace him,

her, or a board, and that this possibility will prevent voters from registering to



                                       30
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 34 of 53




vote. [Doc. 104, ¶ 378]. This extremely speculative harm renders the injury too

attenuated to support jurisdiction. Clapper, 568 U.S. at 409.

      But even if mere speculative future harm were an “injury,” the General

Assembly adopted the Suspension Rule specifically to provide protect voters

and remedies for “counties with dysfunctional election systems.” SB 202 at

5:97. And the evidence demonstrates the Suspension Rule processes have

resulted in improved elections. SMF ¶ 42; Fulton Report, pp. 18–19. Thus, the

hypothetical and unlawful scenario offered by Plaintiffs would be directly

contrary to the aims of SB 202 itself. The government interests in uniformity

and a well-run election system, including ensuring opportunities for all voters

to vote, more than justify the Suspension Rule providing the State a way to

remedy ongoing violations of State law by local election officials. Burdick v.

Takushi, 504 U.S. 428, 434 (1992). As a result, this Court should grant

Defendants judgment as a matter of law on Count III.

      B.    Defendants are entitled to summary judgment on all claims
            regarding the Observation Rules (Counts IV, V, and VI).

            1.    The Observation Rule does not impose an undue
                  burden on the right to vote (Count IV).

      As the Eleventh Circuit recently explained, claims brought under the

fundamental right to vote and the Equal Protection Clause related to elections

are evaluated “under what is known as the Anderson-Burdick test, weighing


                                      31
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 35 of 53




‘the character and magnitude of the asserted injury’ to voting rights ‘against

the precise interests put forward by the State as justifications for the burden

imposed by its rule.’” Curling v. Raffensperger, 50 F.4th 1114, 1121 (11th Cir.

2022) (quoting Burdick, 504 U.S. at 434, and Anderson v. Celebrezze, 460 U.S.

780, 789 (1983)).

      That inquiry is a sliding scale:

      If we conclude that the State’s policy imposes a severe burden on the
      right to vote, we subject the policy to strict scrutiny—meaning that the
      rule survives only if it is narrowly tailored to serve a compelling state
      interest. . . . When the burden is more modest, though, so is the inquiry.
      . . . So long as a policy is “reasonable and nondiscriminatory,” the State’s
      “important regulatory interests in conducting orderly elections” will
      generally be enough to justify it.

Id. (citations omitted).

      This balancing test is important because there is “no license for ‘second-

guessing and interfering with’ state decisions; the Constitution charges

States, not federal courts, with designing election rules.” Id. (citing New

Georgia Project v. Raffensperger, 976 F.3d 1278, 1284 (11th Cir. 2020))

(emphasis added). And it is not enough to show a burden on the right to vote.

Plaintiffs “must show, at the very least, that the burdens imposed ‘represent a

significant increase over the usual burdens of voting.’” Id. (quoting Crawford

v. Marion Cty. Election Bd., 553 U.S. 181, 198 (2008) (plurality opinion)).




                                         32
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 36 of 53




      This Court previously determined that the Observation Rule does not

extend to inadvertent actions of voters and therefore likely does not impose a

severe burden on the right to vote. [Doc. 49, p. 29]. The evidence in the record

and the passage of time have vindicated this view. Indeed, Plaintiffs cannot

point to any evidence suggesting the Observation Rule has been applied in a

manner inconsistent with this Court’s interpretation in its order. The

Plaintiffs’ fears that their casual glances will result in prosecution remain

unfounded. And since the Observation Rule does not impose a severe burden

on the right to vote, the state’s interests in protecting Georgia voters’ right to

a secret ballot and upholding the integrity of elections is enough to justify what

is a very minimal burden placed on Plaintiffs: that they must not intentionally

view other voters’ ballots while in the polling place. Moreover, even if this were

a severe burden, which it is not, the state interests in maintaining the secrecy

of a voter’s ballot more than justify the slight burden. Ga. Const., Art. II, § I, ¶

I; Germany Dec., ¶ 30.

      Also, any burden is not created by Defendants because Plaintiffs have

not sued the parties responsible for their alleged injuries. It is the counties that

select polling locations and decide how to set up ballot stations according to the

orientation of the space they have selected. SMF ¶ 43; Evans Dec., ¶ 3 and Ex.

1. Thus, even if there were an injury, as explained above, it is not traceable to,

                                        33
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 37 of 53




nor redressable by, Defendants. If the scenario occurs where Plaintiffs simply

cannot look around without accidentally (but also somehow intentionally)

viewing other voters’ ballots, it is because the county has set up the polling

location in a way that allows for that. In either case, Defendants are entitled

to judgment as a matter of law on this Count.

            2.    The Observation Rule is not vague (Count V).

      This Court previously drew upon several cases to guide its void-for-

vagueness analysis regarding the Observation Rule. As the Court pointed out,

“the void for vagueness doctrine encompasses ‘at least two connected but

discrete due process concerns: first, that regulated parties should know what

is required of them so they may act accordingly; and second, precision and

guidance are necessary so that those enforcing the law do not act in an

arbitrary or discriminatory way.” [Doc. 49, pp. 29–30] (quoting Wollschlaeger

v. Governor of Fla., 848 F.3d 1293, 1320 (11th Cir. 2017)). In other words, it

requires that “a penal statute define the criminal offense with sufficient

definiteness that ordinary people can understand what conduct is prohibited

and in a manner that does not encourage arbitrary and discriminatory

enforcement.” Id. The Observation Rule meets all of these requirements.

      First, this Court has already concluded that the Observation Rule

“provides fair warning as to what conduct is prohibited and therefore satisfies


                                      34
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 38 of 53




the first prong of the vagueness test.” [Doc. 49, p. 31]. Plaintiffs cannot provide

any evidence to the contrary beyond their own claimed confusion. While the

Court noted the second prong “might be a closer question,” it nonetheless found

that “the rule’s intent requirement addresses those concerns” it had about the

potential for arbitrary enforcement. Id. at 32; see also League of Women Voters

of Fla. Inc. v. Fla. Sec’y of State, 66 F.4th 905, 946 (11th Cir. 2023) (finding

mens rea element in election statute addressed vagueness claims).

      Having now had the benefit of discovery, Plaintiffs have failed to adduce

any evidence proving that this law has been arbitrarily enforced against

Plaintiffs or any other Georgia voter. For the same reasons the Court denied

Plaintiffs’ preliminary injunction request on this Count, it should similarly

grant judgment as a matter of law to Defendants on Count V.

            3.     The Observation Rule does not intimidate voters
                   (Count VI).

      Plaintiffs next claim that the observation provisions are illegal voter

intimidation in violation of 52 U.S.C. § 10307. [Doc. 104, ¶¶ 401–08]. But even

if there were a private right of action under this provision, a prohibition on

intentional observation of others voting cannot be intimidating to the one doing

the unlawful observation.




                                        35
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 39 of 53




      First, this section of the Voting Rights Act (VRA) provides no private

right of action—and “private rights of action to enforce federal law must be

created by Congress.” Alexander v. Sandoval, 532 U.S. 275, 286 (2001). “Where

Congress has not created a private right of action, courts may not do so.”

Bellitto v. Snipes, 935 F.3d 1192, 1202 (11th Cir. 2019) (finding no private right

of action under the Help America Vote Act); see also Brnovich v. Dem Nat’l

Comm., 141 S. Ct. 2321, 2350 (2021) (Gorsuch, J, concurring) (questioning

whether implied right of action exists under VRA); Ala. State Conference of the

NAACP v. Alabama, 949 F.3d 647, 656–57 (11th Cir. 2020) (Branch, J.,

dissenting) (arguing that VRA has not abrogated state sovereign immunity),

vacated as moot by Ala. v. Ala. State Conference of NAACP, 2021 WL 1951778,

*1 (U.S. 2021). This is because “Section 1983 does not provide an avenue for

relief every time a state actor violates a federal law.” Vega v. Tekoh, 142 S. Ct.

2095, 2106 n.6 (2022) (quoting City of Rancho Palos Verdes v. Abrams, 544 U.S.

113, 119 (2005)) (cleaned up). Because Plaintiffs do not have a right to bring a

claim under this provision, this Count must be dismissed.

      Second, even if a private right of action existed, Plaintiffs’ claim that the

Observation Rule somehow intimidates voters because it could potentially be

“invoked to selectively criminalize mere entry into a polling place or even

approaching a polling place with large windows” [Doc. 104, ¶ 401] is without

                                       36
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 40 of 53




any evidentiary proof. Plaintiffs cannot even point to a single individual who

is being prosecuted as a result of such innocent activities. SMF ¶ 44–45;

Germany Dec., ¶ 30; Ex. B, Response Nos. 1–2. Thus, like the other bases for

challenging the Observation Rule, Plaintiffs’ fears of selective criminalization

are entirely speculative. And the record demonstrates that Plaintiffs’ fears are

unfounded. Indeed, there is no evidence that any investigations or charges

have been brought against any Plaintiff in this action or any voter for merely

“approaching a polling place with large windows.” SMF ¶ 45; Ex. B, Response

Nos. 1–2.

      Further, the intent requirement of the Observation Rule removes the

potential for arbitrary application of the law. See [Doc. 49, p. 32]. Considering

this view of the law against the backdrop of zero prosecutions—arbitrary or

otherwise—against any Georgia voter, this Court should grant Defendants’

Motion for Summary Judgment as to Count VI of the Second Amended

Complaint because no voter can be intimidated by being required to avoid

intentionally viewing another voter’s secret ballot.




                                       37
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 41 of 53




      C.    Defendants are entitled to summary judgment on all claims
            regarding the Communications and Tally Rules (Counts
            VII, VIII, and XI).

            1.    The Communications Rule does not violate the First
                  Amendment (Count VII).

      Even with broad constitutional protections on freedom of speech, “the

government may impose some content-based restrictions on speech in

nonpublic forums, including restrictions that exclude political advocates from

political advocacy.” Minn. Voters All. v. Mansky, 138 S. Ct. 1876, 1885–86

(2018). In determining whether a particular location is, in fact, a “non-public

forum,” courts consider whether it is “a space that ‘is not by tradition or

designation a forum for public communication.’” Id. at 1885 (quoting Perry

Educ. Ass’n v. Perry Local Educators’ Ass’n, 460 U.S. 37, 46 (1983)). As this

Court has already explained, “where the regulation of speech in a nonpublic

forum is content-based but neutral as to viewpoint, ‘there is no requirement of

narrow tailoring.’” [Doc. 49, pp. 16–17] (quoting Mansky, 138 S. Ct. at 1888).

“Instead, courts employ a lower standard of review, which requires only that

the regulation be ‘reasonable in light of the purpose served by the forum.’” Id.

at 17 (quoting Mansky, 138 S. Ct. at 1886).

      The Communication Rule easily fits within this legal principle. Issues

involving the First Amendment are unique in the context of elections. Ballots,



                                      38
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 42 of 53




like draft cards, are government property, see U.S. v. O’Brien, 391 U.S. 367,

387–88 (1968), and so the government can implement reasonable regulations

governing the disclosure of the information contained in them. This is

particularly true when that disclosure can affect the outcome of a vote. The

State has a strong interest in ensuring that observers do not attempt to depress

or otherwise alter voter turnout by disclosing a vote tally before the election

has concluded. SMF ¶ 46; Germany Dec., ¶¶ 11–14, 18–19. Further, it is

possible that such observers may inadvertently (or purposely) disclose the

wrong tally, which again could depress or alter turnout in the election. SMF ¶

47; Germany Dec., ¶¶ 20–22. That is why SB 202’s reasonably tailored,

content-neutral, and time-limited restriction on disclosures by such observers,

who already occupy a privileged position as compared to typical voters that the

government itself permits, does not violate the First Amendment.

      For these reasons, the Communication Rule satisfies the First

Amendment, and this Court should grant judgment as a matter of law to

Defendants on Count VII.

            2.    The Tally Rules are not vague (Count VIII).

      As discussed previously, “the void for vagueness doctrine encompasses

‘at least two connected but discrete due process concerns: first, that regulated

parties should know what is required of them so they may act accordingly;


                                      39
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 43 of 53




second, precision and guidance are necessary so that those enforcing the law

do not act in an arbitrary or discriminatory way.” [Doc. 49, pp. 29–30] (quoting

Wollschlaeger, 848 F.3d at 1320).

      Plaintiffs claim the “Tally Rules violate due process because they

criminalize the act of thinking about or attempting to think about a tally or

tabulation…” [Doc. 104, ¶ 420]. But this Court has already found this

characterization of the Tally Rules unpersuasive: “[t]he Court disagrees with

Plaintiffs’ argument that the Tally Rules punish pure thought and inherently

lack any ‘observable or objective indicia of criminal conduct.’” [Doc. 49, p. 34].

Moreover, the evidence in the record shows that this rule has not been

arbitrarily or discriminatorily applied nor has it been applied in the manner

Plaintiffs claim they feared.8 SMF ¶ 48; Ex. B, Response Nos. 1–2. Thus, for

the same reasons the Court denied Plaintiffs’ preliminary injunction request

on this Count, it should similarly grant judgment as a matter of law to

Defendants.




8 This Count is also based on extremely speculative harm that can only result
in an injury based on an attenuated chain of possibilities, removing any
standing for claims on this Count. Clapper, 568 U.S. at 409.

                                       40
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 44 of 53




            3.     The Tally Rules do not violate the First Amendment
                   (Count XI).

      Finally, Plaintiffs claim that the Tally Rules “criminalize the overt acts

of recording or communicating tallies, tabulations, or estimates of the number

of absentee ballots cast or the tallies of votes on the absentee ballots cast” in

alleged violation of the First Amendment. [Doc. 104, ¶ 462]. But, to the extent

the First Amendment applies to prohibition of these observations and

disclosures—and it is not clear that it does—for the same reasons the

Communications Rule does not violate the First Amendment, neither do the

challenged Tally Rules. As previously noted, the prohibited conduct is limited

to the processes around the scanning of absentee ballots. Thus, it takes place

in a non-public forum and a content-neutral analysis must be applied. Mansky,

138 S. Ct. at 1885. And during early scanning, that location is similar to a

precinct—in other words, “a government-controlled property set aside for the

sole purpose of voting.” Id. at 1886. It is entirely reasonable for the government

to prohibit disclosure of voting tallies by observers when such disclosure could

affect or alter the ultimate vote.

      Further, the speech in question is not content-based and should be

evaluated under Anderson/Burdick because the Tally Rules relate to the

“mechanics of the electoral process.” McIntyre v. Ohio Elections Comm’n, 514



                                       41
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 45 of 53




U.S. 334, 345 (1995); see also VoteAmerica v. Raffensperger, 609 F. Supp. 3d

1341, 1361 (N.D. Ga. 2022). Under that standard, preventing Plaintiffs from

disclosing election results before the election is over does not burden the right

to vote; and, even if it does, the regulatory interests in protecting ballot secrecy,

orderly election administration, and voter confidence amply justify so slight a

burden. Common Cause/Georgia, 554 F. 3d at 1354; Gwinnett Cty. NAACP v.

Gwinnett Cty. Bd. Of Registration & Elections, 446 F. Supp. 3d 1111, 1124

(N.D. Ga. 2020); see Deposition of Jeanne Dufort [Doc. 120], 40:18–42:18

(describing monitoring of election administration when observing).

      Thus, the Tally Rules also comply with the First Amendment, and

Defendants are entitled to judgment as a matter of law on this Count.

      D.     Defendants are entitled to summary judgment on all claims
             regarding the Photography Rules (Counts IX and X).

             1.    The Photography Rules do not violate the First
                   Amendment (Count IX).

      This Court earlier determined that the Photography Rules contain two

separate provisions—one that applies in polling locations (Photography Rule

I) and another that applies in any location (Photography Rule II). [Doc. 49, pp.

2, 21–22]. Because Photography Rule I only applies in a non-public forum, as

discussed above, the State’s interests in protecting ballot secrecy and avoiding

fraud in the precinct are sufficient to uphold this provision under a First


                                         42
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 46 of 53




Amendment challenge—and Plaintiffs have no evidence to the contrary.

Mansky, 138 S. Ct. at 1885; [Doc. 49, p. 20].

      But this Court granted a preliminary injunction regarding Photography

Rule II. A closer examination of the issues and evidence demonstrates that,

even assuming strict scrutiny under the First Amendment applies to this rule

(and Defendants maintain that it does not), Defendants are still entitled to

summary judgment on Count IX.

      When the Court granted a preliminary injunction on Photography Rule

II, it expressed concern that Defendants failed to “argue[] that it is narrowly

tailored to serve [compelling government] interests.” [Doc. 49 p. 22]. But the

broad nature of Georgia’s no-excuse absentee voting, where every Georgia

voter, everywhere in the world, can obtain a ballot, demonstrates the need for

protecting the integrity of the ballot beyond the polling place itself. The same

interests of ballot secrecy and “preventing fraud, including vote payment

schemes,” [Doc. 49, p. 22], apply with equal force to absentee ballots outside

the polling place itself. In fact, rules to protect those interests are even more

important outside of the polling place because that type of voting is done

beyond the supervision of election officials. The State’s interest in protecting

the integrity of a voter’s vote is compelling, and the idea that the State cannot

offer the same protections to voters who choose to vote absentee as it offers to

                                       43
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 47 of 53




voters who choose to vote in-person is a distinction that does not make sense.

After all, voters voting absentee and voters voting in-person are engaged in the

same activity—voting their ballot—and should be afforded the same

protections. And both voters are part of a system that offers voters protections

from vote-buying schemes and intimidation in order to give the entire

electorate confidence in election results. SMF ¶ 49; Germany Dec., ¶¶ 23–25.

Georgia’s system of no-excuse absentee voting depends on being able to put in

place reasonable requirements to protect absentee voters from intimidation,

undue influence, or vote-buying schemes.

      Vote-buying schemes, where a third-party may offer to pay or offer

something of value in return for a vote, or intimidates voters, where a third-

party may not explicitly offer to buy votes but may pressure a voter to publicly

reveal   how   they   voted,   undermine    the   foundations   of   merit-based

representative democracy and the protections of a secret ballot guaranteed in

the Georgia Constitution.9 SMF ¶ 50; Ga. Const. Art. II, § I, ¶ I; Germany Dec.,

¶ 26. And Photography Rule II’s extension of Photography Rule I to the ballot

itself wherever it may be located—rather than limiting it strictly to the polling



9Vote-buying schemes have a long pedigree in United States politics. See
Donald Debats, Vote Buying in Nineteenth Century US Elections, available at
https://sociallogic.iath.virginia.edu/sites/default/files/BeforeSecret-Buying.pdf

                                       44
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 48 of 53




place—not only makes sense, but it is the only reliable way to ensure the

government’s compelling interest is achieved. For that reason, this rule is

indeed narrowly tailored to that interest.

      Further, cameras are now commonplace in almost every mobile device in

use today. SMF ¶ 51; Germany Dec., ¶ 28. And pictures are often quickly

uploaded to a cloud storage provider on the Internet and would connect the

voter’s ballot with the voter immediately. SMF ¶ 52; Germany Dec., ¶ 28. It is

typically private companies and not the user (and certainly not the State) that

control the security protocols at the locations where the photographic data is

stored. SMF ¶ 53; Germany Dec., ¶ 29. Thus, to protect Georgia voters, the

State needs a reliable way to ensure that sensitive data like a voted ballot is

not leaked or otherwise aggregated by a nefarious actor. SMF ¶ 54; Germany

Dec., ¶ 27. This applies even if a voter thinks they are only taking a picture for

themselves and not intending to share it with anyone—the conveniences of

modern technology may make that desire illusory. Merely hoping that all the

parties involved in modern cloud data storage (cell phone provider, cell phone

network provider, internet provider, data storage provider, etc.) implement

sufficient safeguards against data breaches is not sufficient. The best

protection is a prohibition on taking a picture of the ballot itself in the first

place. This is a narrowly tailored prohibition to stem the many security

                                       45
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 49 of 53




breaches that could occur once the photo is taken in addition to the potential

for vote-buying schemes, intimidation, or undue influence. SMF ¶ 54; Germany

Dec., ¶ 27. Moreover, it provides a reliable mechanism to prevent absentee

vote-buying schemes or intimidation of absentee voters, which, by definition,

take place outside the security of the polling place, O.C.G.A. § 21-2-385(a), and

thus are more susceptible to such schemes.

      For the foregoing reasons, both photography rules are narrowly tailored

to achieve a compelling government interest and, for that reason, Defendants

are entitled to summary judgment on Count IX of the Second Amended

Complaint.

             2.   The Photography Rules are not vague (Count X).

      As this Court has already noted, “Photography Rule I applies only to

polling stations…” [Doc. 49, p. 21]. This limits the reach of the rule to a non-

public forum, which in turn subjects this Court’s review of the prohibition to

“the lower reasonable standard of review.” Id. The prohibition clearly satisfies

this standard because it is tailored to prevent fraud “including vote payment

schemes…” Id. at 22. And, as with the other provisions in this section,

discovery has not produced any evidence showing that this rule will be

arbitrarily or discriminatorily enforced in the ways Plaintiffs claim. SMF ¶ 55;

Ex. B, Response Nos. 1–2.


                                       46
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 50 of 53




      Thus, because the Photography Rules make clear “what is required” and

there is no evidence of any lack of “precision and guidance” to those enforcing

the law, [Doc. 49, pp. 29–30] (quoting Wollschlaeger, 848 F.3d at 1320), they

are not void for vagueness. Accordingly, the Court should grant Defendants

summary judgment on this Count for the same reasons it denied the Plaintiffs

injunctive relief.

                               CONCLUSION

      Plaintiffs disagree with the Georgia General Assembly about how

elections should be run. But the mere fact of those disagreements does not

make them questions of constitutional import.

      The role of this Court is limited. And the Eleventh Circuit has recognized

that “[t]he wisdom of the Legislature’s policy choices is not ours to judge.”

League of Women Voters of Fla. Inc., 66 F.4th at 931. Because none of the

claims raised by Plaintiffs involves a violation of the Constitution, but only

disagreements about the policy of election administration, this Court should

grant judgment as a matter of law to Defendants on all counts.



      Respectfully submitted this 17th day of July, 2023,

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                                      47
Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 51 of 53




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                               48
Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 52 of 53




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                               49
     Case 1:21-cv-02070-JPB Document 123-1 Filed 07/17/23 Page 53 of 53




                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing brief was prepared in Century Schoolbook 13, a font and type

selection approved by the Court in L.R. 5.1(B).


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                                      50
